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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

   STATE OF NEBRASKA,
   STATE OF MISSOURI,
   STATE OF ARKANSAS,
   STATE OF IOWA,
   STATE OF KANSAS, and
   STATE OF SOUTH CAROLINA,                           No. 4:22-cv-01040

                   Plaintiffs,

      v.

   JOSEPH R. BIDEN, Jr.,
   in his official capacity as the President of
   the United States of America;

   MIGUEL CARDONA, in his official
   capacity as Secretary, United States
   Department of Education; and

   UNITED STATES DEPARTMENT OF
   EDUCATION,

                   Defendants.


                       MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff States move this Court for a preliminary injunction under Fed. R. Civ. P. 65 to

enjoin Defendants from implementing or enforcing their Mass Debt Cancellation for student loans,

which is set to occur at the beginning of October 2022, and to enjoin Defendants from publishing

a waiver or modification under the Higher Education Relief Opportunities for Students Act of 2003

(HEROES Act) to effectuate the Mass Debt Cancellation. In support of this motion, States rely

on the arguments contained in the accompanying memorandum.




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Dated: September 29, 2022                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on September 29, 2022, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system for all parties who have

appeared and to be served on those parties who have not appeared in accordance with the Federal

Rules of Civil Procedure or other means agreed to by the parties.

                                                      /s/ Michael E. Talent
                                                      Michael E. Talent




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